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      Of Attorneys for Defendants Pierce Wealth Partners
      Funds #1, LLC, Eric D. Cole, Kathryn L. Cole and
      Reece E. Madison




                                    UNITED STATES BANKRUPTCY COURT

                                        FOR THE DISTRICT OF OREGON

      In re:                                                Case No. 11-30477-tmb7

      CGF LLC, dba Cascade Garden Farms
      and fdba GEM Tumalo, LLC,


                                    Debtor.

      ____________________________________
      Amy Mitchell, Trustee,                                Adv. No. 11-03056-tmb

                                 Plaintiff,
                                                           ANSWER OF DEFENDANTS PIERCE
                                                           WEALTH PARTNERS FUND #1, LLC,
                v.                                         ERIC D. COLE, KATHRYN L. COLE
                                                           AND REECE E. MADISON
      Patrick M. Gisler, an individual, Pierce
      Wealth Partners Fund #1, LLC, a Colorado
      limited liability company, and Eric D. Cole,
      Kathryn L. Cole, and Reece E. Madison,
      individuals,

                                 Defendants.

                Defendants Pierce Wealth Partners Fund #1, LLC (“PWPF”), Eric D. Cole and Kathryn

      L. Cole (the “Coles”) and Reece E. Madison (“Madison”) (collectively the “Answering

Page 1 -       ANSWER OF DEFENDANTS PIERCE WEALTH PARTNERS                       SCHWABE, WILLIAMSON & WYATT, P.C.
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                                 Case 11-03056-tmb   Doc 15    Filed 04/29/11
      Defendants”) answer Plaintiff’s Complaint as follows:

               1.       The Answering Defendants admit the jurisdictional allegations in paragraphs 2

      through 4.

               2.       The Answering Defendants admit the allegation in paragraph 5.

               3.       The Answering Defendants admit the allegation in paragraph 8, that defendant

      PWPF is a Colorado limited liability company that was formed on May 24, 2010, that its

      principal street address is 10001 E. Evans Avenue, #50A, Denver, CO 80247 and that its

      registered agent is Jennifer Combs.

               4.       The Answering Defendants admit the allegations in paragraph 9, that defendant

      Eric D. Cole is defendant Patrick M. Gisler’s (“Gisler”) son-in-law, that Kathryn L. Cole is

      Gisler’s daughter and that Madison is Gisler’s wife.

               5.       The Answering Defendants admit the allegation in paragraph 10, that the Coles

      currently own real property located at 21125 Scottsdale Drive, Bend, OR 97701.

               6.       The Answering Defendants admit the allegations in paragraph 11, that Madison

      holds a principal broker’s license which was issued on October 16, 2006 and that the address

      listed on her license is 64095 Tamoli Lane, PO Box 7, Bend, OR 97701.

               7.       The Answering Defendants admit the allegations in paragraph 12.

               8.       The Answering Defendants admit the allegation in paragraph 15, that substantial

      litigation between the Debtor and Gisler occurred over several years which resulted in a

      judgment (“Judgment”) in favor of Gisler and against the Debtor in Gem Tumalo LLC v. Patrick

      M. Gisler, Case No. 08-CV-0899MA (“State Court Action”).

               9.       The Answering Defendants admit the allegations in paragraphs 18 and 19, that

      PWFP purchased from the Gisler bankruptcy estate all of Gisler’s and/or the estate’s right, title

      and interest in the Judgment in the State Court Action and the security agreement.

               10.      The Answering Defendants admit the allegation in paragraph 21, that the Debtor

      was a nursery and landscaping business and that some of its assets are located at the property


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                                 Case 11-03056-tmb      Doc 15    Filed 04/29/11
      described in paragraph 12 of Plaintiff’s Complaint (the “Real Property”).

               11.      The Answering Defendants admit the allegation in paragraph 22, that as a result

      of a foreclosure sale, for a period of time, West Coast Bank was the owner of the Real Property

      alleged in Plaintiff’s Complaint.

               12.      The Answering Defendants admit the allegation in paragraph 23, that Gregg

      Miller and Maryanne Miller did reside on the Real Property.

               13.      The Answering Defendants admit the allegation in paragraph 28, that prior to the

      date of the Complaint, none of these Answering Defendants contacted the Trustee or the

      Trustee’s counsel.

               14.      The Answering Defendants admit the allegation in paragraph 29, that on or about

      February 2, 2011, Deschutes County Circuit Court Judge Michael Adler issued a Writ of

      Execution of Judgment of Restitution against Gregg Miller and Maryanne Miller in the State

      Court Action.

               15.      The Answering Defendants admit the allegation in paragraph 31, that on or about

      February 4, 2011, the Deschutes County Sheriff enforced the Writ of Execution against Gregg

      and Maryanne Miller.

               16.      The Answering Defendants admit the allegations in paragraph 33 and 34, that

      Greg Miller filed pleadings in the State Court Action contesting the Writ of Execution.

               17.      The Answering Defendants admit the allegation in paragraph 35, that on or about

      February 7, 2011, the Deschutes County Circuit Court Judge signed an Order purporting to

      Abate the Writ of Execution.

               18.      The Answering Defendants admit the allegations in paragraphs 40, 42 and 43, to

      the extent that the Coles and Madison negotiated for and ultimately purchased the Real Property

      from West Coast Bank and are now the owners of the Real Property.

               19.      Except as expressly admitted above, the Answering Defendants deny each and

      every other allegation in Plaintiff’s Complaint for the following reasons:


Page 3 -    ANSWER OF DEFENDANTS PIERCE WEALTH PARTNERS                              SCHWABE, WILLIAMSON & WYATT, P.C.
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                                 Case 11-03056-tmb      Doc 15     Filed 04/29/11
                        a.       Paragraphs 1; 53-56; 60-65; 67; 69 and 70 are all legal conclusions.

                        b.       The Answering Defendants have insufficient knowledge regarding the

      remaining paragraphs 6-9; 13-19; 21-32; 34-35; 37-39; 41 and 44.

                        c.       The Answering Defendants deny the allegations in paragraphs 20; 36; 46-

      52; 58-59; 66 and 71.

               20.      As noted, except as expressly admitted above, these Answering Defendants deny

      each and every other allegation in Plaintiffs’ Complaint.

               WHEREFORE, the Answering Defendants request judgment against Plaintiff dismissing

      Plaintiff’s Complaint and each and every claim therein as against these Answering Defendants,

      together with such further relief as the Court deems equitable and just.

               Dated this 29th day of April, 2011.

                                                       Respectfully submitted,

                                                       Schwabe, Williamson & Wyatt, P.C.



                                                       By:     /s/ Brian L. Gingerich
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                                 Case 11-03056-tmb        Doc 15     Filed 04/29/11
